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                   19                             UNITED STATES DISTRICT COURT

                   20                          NORTHERN DISTRICT OF CALIFORNIA

                   21                                  SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                       Case No. 3:23-cv-03417-VC-TSH

                   23     Individual and Representative Plaintiffs,   JOINT ADMINISTRATIVE MOTION TO FILE
                                                                      UNDER SEAL JOINT DISCOVERY LETTER
                   24        v.                                       BRIEF AND EXHIBITS

                   25   META PLATFORMS, INC., a Delaware
                        corporation;
                   26
                                                       Defendant.
                   27

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ATTORNEYS AT LAW
                                                                                         ADMIN. MOTION TO SEAL
                                                                                          3:23-CV-03417-VC-TSH
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                    1           Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Plaintiffs Richard Kadrey, Sarah
                    2   Silverman, Christopher Golden, Ta-Nehisi Coates, Junot Diaz, Andrew Sean Greer, David Henry
                    3   Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, and Lysa
                    4   TerKeurst (collectively, “Plaintiffs”) and Defendant Meta Platforms, Inc. (“Meta”) (collectively,
                    5   the “Parties”) hereby jointly move this Court for an Order allowing the partes to file under seal
                    6   confidential, unredacted versions of certain documents relating to the Parties’ Joint Letter Brief on
                    7   Meta’s Motion to Compel (“Joint Letter Brief”). The Parties respectfully submit that compelling
                    8   reasons exist for the filing of these documents under seal. The motion is based on the following
                    9   Memorandum of Points and Authorities and the Declarations of Michelle Woodhouse in support
                   10   of this Joint Administrative Motion to File Under Seal.
                   11           The following chart lists the documents for which the Parties request sealing – in whole or
                   12   in part – in order to protect Meta’s confidential business information.
                   13
                         Document                                       Sealing Request
                   14
                         Joint Discovery Letter Brief                            Redacted portions
                   15
                         Exhibit 1 to Joint Discovery Letter Brief               Redacted portions
                   16
                         Exhibit 2 to Joint Discovery Letter Brief               Redacted portions
                   17
                         Exhibit 4 to Joint Discovery Letter Brief               Redacted portions
                   18

                   19   A [Proposed] Order is filed concurrently herewith, and the Parties refer the Court to the Joint Letter

                   20   itself and the supporting evidence attached thereto as further support for this Joint Administrative

                   21   Motion.
                        I.      LEGAL ARGUMENT
                   22
                                Though the presumption of public access to judicial proceedings and records is strong, it
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                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   24
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   25
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   26
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   27
                        non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.
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                    1   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                    2   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                    3   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                    4   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                    5   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                    6   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
                    7          The portions of the Joint Letter Brief and Exhibits 1, 2, and 4, attached thereto, contain
                    8   confidential information of Meta, of which Meta requests sealing.
                    9          Exhibits 1 and 2 comprises excerpts of deposition testimony of Meta witnesses, Dr.
                   10   Eleonora Presani and Dr. Melanie Kambadur, about internal Meta projects relating to AI
                   11   development, including highly sensitive information regarding the technical development and
                   12   components of Meta’s AI models and regarding communications regarding potential partnerships
                   13   with third parties regarding AI development. Exhibit 4 is Plaintiffs’ Rule 30(b)(6) notice, which
                   14   references sensitive, highly confidential information regarding Meta’s technical development and
                   15   potential plans that have not been disclosed to the public.
                   16          The portions of the Joint Letter Brief that the Parties seek to redact quote from or describe
                   17   the contents of Exhibits 1, 2, and 4, as well as the contents of previously sealed ECF Nos. 162-4,
                   18   162-5, 162-11, 162-12, 162-13, 162-14 (see ECF Nos. 161, 161-1, 161-2, 172).
                   19          As this information is highly confidential, Meta must request sealing of these materials.
                   20   Meta takes steps to carefully protect the confidentiality of information of this sort because the
                   21   disclosure of such information has the potential to cause significant competitive injury to Meta.
                   22   See, e.g., Krieger v. Atheros Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D.
                   23   Cal. Jun. 25, 2011) (finding information regarding party’s “long-term financial projections,
                   24   discussions of business strategy, and competitive analyses” sealable); Space Data Corp. v. Alphabet
                   25   Inc., No. 16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding
                   26   information regarding party’s confidential and proprietary technical information, and sensitive
                   27   financial information sealable). These sealing requests are critical to protect Meta’s confidential
                   28   sensitive technical and competitive information.
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                    1            The specific basis for sealing these materials is outlined in the accompanying declaration
                    2   of Meta’s Associate General Counsel, Michelle Woodhouse, as well as ECF No. 161, 161-1, and
                    3   161-2 (which detail the basis for sealing quoted or described highly sensitive information from ECF
                    4   Nos. 162-4, 162-5, 162-11, 162-12, 162-13, and 162-14). As outlined in Ms. Woodhouse’s
                    5   declaration, disclosure of the protected information contained in the materials the Parties seek to
                    6   seal would work competitive harm to Meta if this information is publicly disclosed. The Parties’
                    7   sealing requests and proposed redactions are narrowly tailored to include only that information
                    8   which would cause specific, articulable harm, as identified in Ms. Woodhouse’s declaration. In
                    9   each instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone
                   10   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting
                   11   motion to seal where the defendant’s interest in “maintaining the confidentiality of information
                   12   about its technology and internal business operations” outweighed that of the public in accessing
                   13   such documents).
                   14   II.      CONCLUSION
                   15            Pursuant to Civil Local Rule 79-5, redacted and unredacted versions of the above-listed
                   16   documents accompany this Administrative Motion. For the foregoing reasons, the Parties
                   17   respectfully request that the Court grant their Joint Administrative Motion to Seal.
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                    1   Dated: September 30, 2024                    COOLEY LLP
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                    1   Dated: September 30, 2024                CAFFERTY CLOBES MERIWETHER &
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                    1

                    2                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

                    3          I hereby attest that I obtained concurrence in the filing of this document from each of the

                    4   other signatories. I declare under penalty of perjury that the foregoing is true and correct.

                    5
                         Dated: September 30, 2024
                    6                                                         COOLEY LLP
                    7                                                         /s/ Elizabeth L. Stameshkin
                    8                                                         Attorneys for Defendant
                                                                              Meta Platforms, Inc.
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